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IN THE UNITED STATES DISTRICT COURT mm BY ____\g
FOR THE wEsTERN DISTRICT oF TENNESSEE 05
wESTERN DIvIsIoN AUGZ PH ¢‘,
MMESM,GOU;D
LAUR.A A. TAVERNIER, M.D., Cl-F!_Fi'il!.$.[?8 .CTCOUH
Plaintiff,
V. NO. 03-2423-MaP

THE U`NIVERSITY OF TENNESSEE
COLLEGE OF MEDICINE, ET AL. ,

Defendants.

 

ORDER GRAN'I‘ING PERMISSION 'I‘O FILE SUR-REPLY
TO DEFENDANT HERROD’S REPLY TO PLAINTIFF’S RESPONSE TO
MOTION FOR SUMMARY JUDGMENT

 

Before the court is plaintiff’s August 16, 2005, motion to
file a sur-reply to the defendant Henry G. Herrod‘s (in his
individual capacity) reply to plaintiff’s response to motion for
summary judgment. For good cause Shown, the motion is granted
and plaintiff may file her sur-reply.

It is so ORDERED this ql°iéhy of August, 2005.

JA(M¢._

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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with Ru|e 56 and/or 79(3} FRCP on_ ___L_'é

   

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This notice confirms a copy of the document docketed as number 155 in
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Honorable Samuel Mays
US DISTRICT COURT

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